                                    UNITED STATES DISTRICT COURT
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                              FOR THE NORTHERN DISTRICT OF CALIFORNIA
 2                                     SAN FRANCISCO DIVISION

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      Pangea Legal Services, et al.,                )
 5                                                  )       Civil Action No. 3:20-cv-09253-JD
                                                    )
 6                      Plaintiffs,                 )
 7                                                  )      JOINT STATUS REPORT
      v.                                            )
 8                                                  )
      U.S. Dept. of Homeland Security, et al.,      )      Hearing Date:
 9                                                  )      Hearing Time:
10                      Defendants.                 )
                                                    )
11                                                  )
      Immigration Equality, et al.,                 )
12                                                  )       Civil Action No. 3:20-cv-09258-JD
13                                                  )
                        Plaintiffs,                 )
14                                                  )
      v.                                            )
15                                                  )
16    U.S. Dept. of Homeland Security, et al.,      )
                                                    )
17                      Defendants.                 )
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19                                              STATUS REPORT
20            On January 8, 2021, this Court issued a preliminary injunction enjoining the Final Rule at
21   issue in both cases. See Pangea ECF 66; Immigration Equality, ECF 55.
22            On January 27, 2021, the Court granted the parties’ Joint Stipulation to Hold Cases in
23   Abeyance while the preliminary injunction remained in effect. In the stipulation, the parties agreed
24   to submit a status report within 90 days of the Court’s order, “updating the Court on the status of
25   the Final Rule and policy changes or other developments, if any, that are likely to materially impact
26   these cases.” Pangea, ECF 75 at 2, Immigration Equality, ECF 60 at 2. On April 19, 2021, the
27   parties submitted a joint request for the cases to remain in abeyance while they continued
28   discussions on the issues regarding providing notice of the preliminary injunction to the public and



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 1   asylum applicants and to submit a status report in 30 days. Pangea, ECF 81, Immigration Equality¸
 2   ECF 63. The Court granted this request on April 19, 2021, and ordered the parties to file a “joint
 3   status report by May 19, 2021, advising the Court of the status of the government’s review of the
 4   regulation at issue in these cases, and of any relevant policy changes or other material
 5   developments.” Pangea, ECF 82, Immigration Equality, ECF 64.
 6            On May 19, 2021, the parties submitted a joint status report in which the parties set forth
 7   their respective positions on whether the Government was complying with the Court’s preliminary
 8   injunction, and Plaintiffs requested a status conference. The Court scheduled a status conference,
 9   which was held on August 19, 2021. During the conference, the Court indicated that it wished for
10   the Government to take certain actions with respect to their websites and indicated an interest in
11   resolving the case. In a subsequent order, the Court directed the parties “to meet and confer about
12   the agency websites and links to the enjoined portions of the CFR” and to submit a joint status
13   report by September 20, 2021, along with “a proposal for resolution of the cases, including entry
14   of a permanent injunction.” Pangea, ECF 85; Immigration Equality, ECF 67. The parties have
15   met and conferred and have the following to report to the Court.
16   Defendants’ Websites and Links to the CFR
17            The Executive Office for Immigration Review and U.S. Citizenship and Immigration
18   Services have added banners to the websites that link to the eCFR indicating that portions of Title
19   8 have been preliminarily enjoined and are not currently in effect along the lines of the Court’s
20   suggestion during the August 19 conference:
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 1   The Government is participating in ongoing discussions with Plaintiffs about other mechanisms
 2   for providing the public with information about the currently operative regulations.
 3   Proposal for Proceedings
 4            The parties have met and conferred and are making substantial progress in their discussions
 5   on how the case should proceed. At this time, the parties request additional time to discuss the
 6   possible options. The parties jointly request that the Court extend the parties’ deadline for setting
 7   forth a proposal for further proceedings in this case for 30 days, until October 20, 2021, to allow
 8   the parties time to explore all options. The parties request that this Court’s preliminary injunction
 9   continue to remain in effect during this time.
10   Respectfully submitted,
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     By:      /s/ Naomi A. Igra                            By:     /s/ Christina P. Greer
12            NAOMI A. IGRA                                CHRISTINA P. GREER
              Sidley Austin LLP                            Senior Litigation Counsel
13            555 California St., Suite 2000               U.S. Department of Justice, Civil Division
              San Francisco, CA 94104                      P.O. Box 878, Ben Franklin Station
14
              Tel. (415) 772-1200                          Washington, DC 20044
15            naomi.igra@sidley.com                        Tel. (202) 598-8770
                                                           Christina.P.Greer@usdoj.gov
16
17   Counsel for Pangea Plaintiffs                         Counsel for Defendants

18   By:      /s/ Omar Gonzalez-Pagan
              OMAR GONZALEZ-PAGAN
19            Lambda Legal Defense and
20            Education Fund, Inc.
              120 Wall Street, 19th Floor
21            New York, NY 10005
              Tel. (212) 809-8585
22            ogonzalez-pagan@lambdalegal.org
23
     Counsel for Immigration Equality Plaintiffs
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     Dated: September 20, 2021
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